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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA                  )
                                             )
             v.                              )      CRIMINAL NO. 21-MJ-00109(RMM)
                                             )
                                             )
   SUZANNE IANNI                             )

    DECLARATION OF C. HENRY FASOLDT IN SUPPORT OF MOTION FOR
              ADMISSION OF ATTORNEY PRO HAC VICE

          I, C. HENRY FASOLDT, hereby declare;

1. My name, office address, and telephone number are as follows:

   185 Devonshire Street
   Suite 302
   Boston, MA 02110
   (617) 338-0009

2. I have been admitted to the following courts and bars:

   Commonwealth of Massachusetts
   United States District Court, District of Massachusetts
   United States Court of Appeals for the First Circuit

3. I am currently in good standing with all states, courts, and bars in which I am
   admitted. I have never been subject to discipline, nor have been disciplined by any
   bar to which I am admitted or otherwise.

4. I have not been previously admitted pro hac vice in this Court, in the last two years,
   or otherwise.

5. I do not have an office located within the District of Columbia


   I declare under penalty of perjury that the foregoing is true and correct.

   Date: January 26, 2021                           /s/ Henry Fasoldt
                                                    C. HENRY FASOLDT


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